UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

CASE NO. 3:17-cv-149-FDW-DCK

CARLSON ENVIRONMENTAL )
CONSULTANTS, PC, )
)

Plaintiff, ) AFFIDAVIT OF SEAN SLAYTON
)
v. )
)
SEAN SLAYTON, )
)
Defendant. )

Se BON

I, Sean Slayton, being duly sewn, depose and state the following:

1. I am over the age of 18 and otherwise competent to make this affidavit. The statements
made in this affidavit are based on my personal knowledge, unless otherwise indicated upon
information and belief.

2. I graduated from high school in 1989, and began working as a recovery technician,
removing hazardous waste from various sites and environmental disasters.

3. I was promoted to an equipment operator, and I worked in that capacity for the same
employer until approximately 1999 or 2000.

4, In around 1999 or 2000, the company that employed me merged with or purchased
another company, and I began working for the same employer, but as a landfill gas well driller.

5. In 2007, my wife formed Quality Drilling Service (“QDS”), and I began my employment

with QDS.

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6. I was not an owner, shareholder, or partner of QDS, and did not otherwise own an
interest in QDS.

7. From 2007 until July 2015, remained employed by QDS as a landfill gas well driller.

8. QDS performed gas well drilling as a subcontractor, contracting with prime contractors
who contracted directly with the landfill owners and operators to perform more comprchensive
waste management work.

9. QDS did not have a specialized pricing and bidding process for its drilling work, but
rather QDS simply charged a set price per linear foot for its drilling work. All prime contractors
that hired QDS knew the price per linear foot that it charged for its drilling services.

10. In July 2015 I began employment with CEC as a landfill gas well driller.

11. On November 19, 2015 CER purchased the assets of QDS. I did not receive any of the
proceeds of that sale.

12. I did not receive a raise, bonus, or other change in compensation, a promotion, additional
training, or any increase in responsibility or number of hours worked in exchange for the
November 19, 2015 Confidentiality and Noncompetition Agreement. A true and correct copy of
all of my Earnings Statements for the year of 2015 are attached hereto as Exhibit 1-A.

13. During my employment with CEC, CEC performed landfill gas well drilling, both as a
subcontractor and as a prime contractor performing more comprehensive waste management
work, including not only drilling but also pipe construction, engineering, and construction

quality assurance work.

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14. As my employment continued, CEC made clear that it wanted to prioritize drilling only
on projects where CEC was serving as the prime contractor, and not on projects where CED was
performing as a subcontractor. In doing so, BEL Environmental was removed as a preferred
prime contractor client.

15. Seth Nunes informed me that because CEC wanted to prioritize drilling only for projects
on which CEC was the prime contractor, most subcontracts for drilling would require approval
by the ownership of CEC.

16. The subcontracted work is the work that I performed for CEC.

17. Durmg my employment with CEC, I had no knowledge or involvement in the
formulation of pricing, the bidding process, or other high-level decision making for any work
CEC performed as a prime contractor.

18. During my employment with CEC, I had no involvement in pricing or bidding of any
work CEC performed as a subcontractor. CEC had a standard price per linear foot for landfill
drilling, and if any deviation from that pricing occurred, that deviation was determined by the

owners of CEC.

19. Any pricing information I received from CEC’s principals relating to the subcontract
drilling work was the exact same information that was conveyed to the general contractor to bid
or invoice for the work. I had no information about CEC’s pricing for drilling work beyond what

was either quoted or invoiced to general contractors for the work to be performed.

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20. During my employment with CEC, I spent my time working on site at various landfills. I
did not learn any confidential client information or trade secrets while drilling or otherwise.
Landfill drilling does not involve the use of confidential information or trade secrets.

21. An engineering firm designs a gas system, and based on that system, surveying stakes are
placed at the various locations where the wells need to be drilled. The drillers, including myself,
simply operate the drill rig to drill the hole in the location identified and to the depth instructed
by the engineering firm.

22. I did not work nationwide for CEC. To the best of my recollection, I performed work for
CEC in fourteen states of the fifty states.

23. The principals of CEC regularly made the decisions about raises and bonuses to the
employees performing drilling work without my knowledge or involvement. I had knowledge of
the salaries paid by QDS to its employees; but once the QDS employees became employed by
CEC, the decisions regarding their income and benefits were not mine to make; I was not
consulted or involved in the process of making those decisions.

24. In December of 2016 CEC terminated my employment.

25. Vince Coleman, an owner of CEC, informed me that CEC was terminating my
employment, and told me that I could do what I want and take both my sons with me.

26. At the time, both of my sons, Chaz Slayton and Austin Slayton, worked for CEC.

27. After approximately one month of job searching, I became employed by Landmarc

Environmental Systems, LLC (“LES”).

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28. Since beginning my employment with LES in January of 2017, I have been working as a
drill rig operator. I go where I am instructed to go to perform drilling work. I do not have
supervisory responsibilities or other discretion expected of a high-level employee.

29. While employed by CEC, I did not learn any confidential information or trade secrets.
CEC did not train me for the work I performed.

30. Since beginning my employment with LES on January 16, 2017, nearly all of the work
that I have performed is pursuant to a contract between LES and Republic Services, Inc., which,
upon information and belief, was negotiated and awarded before I began my employment with
LES.

31. I have not been involved in any way in the pricing or bidding process for LES for any of
its bids, whether for Republic Services or otherwise.

32. IT have no knowledge or information about LES’s pricing or bidding process, and I have
not communicated any information to LES or any other person or entity about CEC’s methods
for creating proposals or bids.

33. Since CEC terminated my employment, I have not solicited or attempted to solicit work
for BEL Engineering, SCS Engineers, Enerdyne Power Systems, Advanced One, or any other
company. [ have not solicited any work for or on behalf of LES, either directly or indirectly.

34. I do not participate in LES’s hiring and personnel matters, and I have no authority in
relation to either.

35. Since CEC terminated my employment, I have not solicited any of CEC’s employees to

work for LES. I did not solicit or recruit Josh Goosman, Brian Hite, Chaz Slayton, or Austin

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Slayton. In fact, Josh Goosman and Brian Hite both stopped working for CEC before I was
fired,

36. Ido not supervise Josh Goosman or any other employees performing drilling services for
LES. I do not provide off-site technical support, consultation, troubleshooting, or otherwise
manage any of the other drillers, and noe fo the drillers employed by LES report to me. Josh
Goosman did not call me to figure out how to drill around an obstruction, or otherwise for
consultation or technical support.

37. I was not involved in personnel decisions while I was employed by CEC, and I have not
communicated any information relating to salaries, bonuses, or other compensation paid by CEC
to LES.

38. Since I began working for LES, [ have not contacted Bauer-Pileco or any other vendor on
behalf of LES. I am not authorized to place orders or enter into contracts on behalf of LES.

39. I have not solicited any of CEC’s customers or employces, and I have not shared any
confidential information or trade secrets belonging to CEC.

This the day, of September, 2017.

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KD SEK.

SEAN SLAYTON

NORTH CAROENA- Dhawis

MECKLENBURG-COUNTY- Madisea County

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L Ai dnole EK wiley , 4 Notary Public do hereby certify that SEAN SLAYTON,
personally appeared befiire me this day and acknowledged the due execution of the foregoing —
Affidavit.

WITNESS my hand and official seal, this the \oe day of September, 2017.

Orr eae E KELLY
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a S _ a Notary Public, State of kinois
. My Commission Expires
March 25, 2018.

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Notary Public

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CARLSON ENVIRONMENTAL CONSULTANTS PC

305 SOUTH MAIN STREET
MONROE NC 28112

Taxable Marital Status: Married

Exemptions/Allowances:

Earnings Statement

Period Beginning: 07/11/2015
Period Ending: 07/24/2015
Pay Date: 07/24/2015

SEAN SLAYTON
1715 LIBERTY ST.

Federal: 2,525 Additional Tax
re es ALTON IL 62002
Earnings rate hours this period year to date Deposits
Regular 4038 .46 4,038 .46 4,038 .46
4.038 46 Account No. XXXXXX9653
, Transit/ABA XXXX__XXXX
Pending
Deductions Statutory
Federal income Tax -551 45 551.45 Account No. XXXXxXxX691 14
Social Security Tax -250 . 38 250 . 38 Transit/ABA XXXX__XXXX
Medicare Tax - 58.56 58.56 Pending
IL State Income Tax -145 .24 145 .24

Important Notes

YOUR BANK WAS NOTIFIED OF YOUR REQUEST FOR DIRECT

DEPOSIT. IT WILL BEGIN AFTER ACCOUNT VERIFICATION.

Your federal taxable wages this period are
$4 ,038 . 46

Your IL taxable wages this period are

$4 ,038 .46

© 2000 ADP. LLG

R30 56-382/412
CARLSON ENVIRONMENTAL CONSULTANTS PC Payroll check number: 0095203629
© 305 SOUTH MAIN STREET Pay date: 07/24/2045

MONROE NC 28112

Pay to the
order of: SEAN SLAYTON
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R30 200118 100100 0095208355 1 Earnings Statement
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CARLSON ENVIRONMENTAL CONSULTANTS PC Period Beginning: 07/25/2015
305 SOUTH MAIN STREET Period Ending: 08/07/2015
MONROE NC 28112 Pay Date: 08/07/2015
Taxable Marital Status: Married SEAN SLAYTON
Exemptions/Allowances: 1715 LIBERTY ST.
Federal: 2,$25 Additional Tax
is ; ALTON IL 62002
Earnings rate hours this period year to date D .
Regular 2230 77 2,230.77 6,269 .23 eposits
2 6. 269 23 Account No. XXXXXX9653
, . Transi/ABA XXXX__XXXX
Amount $3 ,635 .51
Deductions Statutory
Federal Income Tax -228 .37 779 .82 Account No. XXXXXX69 1 1
Social Security Tax -138 .31 388 . 69 Transit/ABA XXXX__XXXX
Medicare Tax ~32.34 90.90 Amount $403 .95
IL State Income Tax -77.45 222 .69
Other Important Notes
Exp Reimb -5, 526 .32 YOUR SALARY RATE HAS BEEN CHANGED FROM 4,038.46 TO
Per Diem -440 .00 2,230.77.
Adjustment
Exp Reimb +5,526 .32
Per Diem +440 .00
Checking 1 ~3,635 51
Checking 2 -403 .95
Your federal taxable wages this period are
$2,230.77
Your IL taxable wages this period are
$2,230.77
R30 56-382/412
CARLSON ENVIRONMENTAL CONSULTANTS PC Payroll check number: 0095208355
o 305 SOUTH MAIN STREET Pay date: 08/07/2035
MONROE NC 28112 = SS
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order of: SEAN SLAYTON . = = =
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CARLSON ENVIRONMENTAL CONSULTANTS PC Period Beginning: 08/08/2015
305 SOUTH MAIN STREET Period Ending: 08/21/2015
MONROE NC 28112 Pay Date: 08/21/2015
Taxable Marital Status: Married SEAN SLAYTON
Exemptions/Allowances: 1715 LIBERTY ST.
Federal: 2,$25 Additional Tax
is ; ALTON IL 62002
Earnings rate hours this period year to date
Regul 2230 .77 2,230.77 8,500 .00 . .
egier ot = 7 8 500.00 Your IL taxable wages this period are
— o_ $1,538.77
Deductions Statutory Other Benefits and
Information this period total to date
Federal Income Tax -124 .57 904 . 39 401K 692 00
Social Security Tax -138 .31 527 .00 .
Medicare Tax -32 .35 123 .25
IL State Income Tax -51.50 274.19
Other
401K -692 . 00* 692 .00
Exp Reimb -5,526 . 32
Per Diem ~800 .00
Adjustment
Per Diem +360 .00
Checking 1 -1,148 .09
Checking 2 -403 .95
* Excluded from federal taxable wages
Your federal taxable wages this period are
$1,538.77
CARLSON ENVIRONMENTAL CONSULTANTS PC Advice number: 00000340040
» 305 SOUTH MAIN STREET Pay date: = 08/21/2015
MONROE NC 28112
Deposited to the account of = account number transit. ABA amount
SEAN SLAYTON XXXXXx9653 XXXX  XXXX $1,148 .09
XXXXXX691 1 XXXX  XXXX $403 .95

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CARLSON ENVIRONMENTAL CONSULTANTS PC
305 SOUTH MAIN STREET
MONROE NC 28112

Taxable Marital Status: Married

Exemptions/Allowances:

Federal: 2,$25 Additional Tax
iL: 2
Earnings rate hours this period year to date
Regular 2230 .77 2,230.77 10,730.77
10,730.77
Deductions Statutory
Federal Income Tax -124 .57 1,028 .96
Social Security Tax -138 .31 665 . 31
Medicare Tax ~32.35 155 .60
IL State Income Tax -51.50 325 .69
Other
401K -692 . 00* 1,384 .00
Exp Reimb ~5, 526 .32
Per Diem -1,240 .00
Adjustment
Per Diem +440 .00
Checking 1 -1,228 .09
Checking 2 -403 .95

* Excluded from federal taxable wages
Your federal taxable wages this period are
$1,538.77

CARLSON ENVIRONMENTAL CONSULTANTS PC
305 SOUTH MAIN STREET
MONROE

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Deposited to the account of

SEAN SLAYTON

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22893 Sandalfoot PlazaDr =
Boca Raton FL, 33428

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Earnings Statement

Period Beginning: 08/22/2015
Period Ending: 09/04/2015
Pay Date: 09/04/2015

SEAN SLAYTON
1715 LIBERTY ST.
ALTON IL 62002

Your IL taxable wages this period are
$1,538.77

Other Benefits and

Information this period total to date
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Advice number: 00000360040

Pay date. = 2 09/04/2015

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CARLSON ENVIRONMENTAL CONSULTANTS PC Period Beginning: 09/19/2015
305 SOUTH MAIN STREET Period Ending: 10/02/2015
MONROE NC 28112 Pay Date: 10/02/2015
Taxable Marital Status: Married SEAN SLAYTON
Exemptions/Allowances: 1715 LIBERTY ST.
joceral z825 Additional Tax ALTON IL 62002
Earnings rate hours this period year to date
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Regular 2230 7 2230 f n to 34 Your IL taxable wages this period are
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information this period total to date
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Social Security Tax -138 .30 941.92 , .
Medicare Tax - 32.35 220 .29
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401K -692 . 00* 2,768 .00
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Checking 2 -403 .95
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CARLSON ENVIRONMENTAL CONSULTANTS PC Advice number: 00000404040
305 SOUTH MAIN STREET Pay date: = = 10/02/2015
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CARLSON ENVIRONMENTAL CONSULTANTS PC Period Beginning: 10/03/2015
305 SOUTH MAIN STREET Period Ending: 10/16/2015
MONROE NC 28112 Pay Date: 10/16/2015
Taxable Marital Status: Married SEAN SLAYTON
Exemptions/Allowances: 1715 LIBERTY ST.
Federal: 2,525 Additional Tax
ie ALTON IL 62002
Earnings rate hours this period year to date
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Regular - 220 2 5 08 Your IL taxable wages this period are

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$1,538.77

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Federal Income Tax ~124.57 1,402 .67 information ——— = aa =
Social Security Tax - 138.31 1,080 .23 , .
Medicare Tax - 32.34 252 .63
IL State Income Tax -51.50 480 .19
Other
401K -692 .00* 3,460 .00
Exp Reimb -5,526 .32
Per Diem -2,680 .00
Adjustment
Per Diem +320 .00
Checking 1 -1,108 .10
Checking 2 -403 .95
* Excluded from federal taxable wages

Your federal taxable wages this period are

$1,538.77

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CARLSON ENVIRONMENTAL CONSULTANTS PC

305 SOUTH MAIN STREET
MONROE NC 28112

Taxable Marital Status: Married
Exemptions/Allowances:

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Earnings Statement

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Period Beginning: 10/31/2015
Period Ending: 11/13/2015
Pay Date: 11/13/2015

SEAN SLAYTON
1715 LIBERTY ST.

Federal: 2,$25 Additional
federa $25 Additional Tax ALTON IL 62002
Earnings rate hours this period year to date
Regular 2230 TT oT 2,230 77 21, B84 . 62 Your iL taxable wages this period are
Gross Pay 32,4800 47 a 62 $1,538.77
Deductions Statutory Other Benefits and . .
Information this period total to date
Federal Income Tax -124 .57 1,651.81 401K 484400
Social Security Tax -138 .31 1,356.85 ; :
Medicare Tax ~32.35 317 .33
IL State Income Tax -51.50 583 .19
Other
401K -692 .00* 4,844 .00
Exp Reimb -5,526 .32
Per Diem -3,720.00
Adjustment
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Checking 1 -1,348 .09
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* Excluded from federal taxable wages
Your federal taxable wages this period are
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CARLSON ENVIRONMENTAL CONSULTANTS PC
305 SOUTH MAIN STREET
MONROE NC 28112

Taxable Marital Status: Married

Exemptions/Allowances:

Earnings Statement

Period Beginning: 11/14/2015
Period Ending: 11/27/2015
Pay Date: 14/27/2015

SEAN SLAYTON
1715 LIBERTY ST.

Federal: 2,$25 Additional Tax
is 5 ALTON IL 62002
Earnings rate hours this period year to date
Regul 2230 .77 2,230.77 24,115.39 . .
egular 24 115.39 Your IL taxable wages this period are
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Deductions Statutory Other Benefits and
Information this period total to date
Federal Income Tax -124 57 1,776.38 401K 5536 00
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Medicare Tax -32 .34 349 . 67
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Other
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Per Diem -4,240 .00
Adjustment
Per Diem +520 .00
Checking 1 -914.11
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* Excluded from federal taxable wages
Your federal taxable wages this period are
$1,538.77
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e 305 SOUTH MAIN STREET Pay date: = = 11/27/2015
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CARLSON ENVIRONMENTAL CONSULTANTS PC
305 SOUTH MAIN STREET
MONROE NC 28112

Taxable Marital Status: Married

Exemptions/Allowances:

Earnings Statement

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Period Beginning: 11/28/2015
Period Ending: 12/11/2015
Pay Date: 12/11/2015

SEAN SLAYTON
1715 LIBERTY ST.

Federal 2828 Additional Tax ALTON IL 62002
Earnings rate hours this period year to date
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egular 2 6 Your federal taxable wages this period are
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Federal Income Tax 124 57 4,900.95 Other Benefits and oe
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Social Security Tax ~138 .31 1,633 .46 401K 6.228 00
Medicare Tax -32.35 382 .02 , :
IL State Income Tax -51.50 686 .19
Other
Child Support 1 ~394 .00 788 .00
401K -692 .00* 6 , 228 .00
Exp Reimb -5,526 .32
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* Excluded from federal taxable wages
CARLSON ENVIRONMENTAL CONSULTANTS PC Advice number: 00000500046
. 305 SOUTH MAIN STREET Pay date. «= = 12/11/2015
MONROE NC 28112
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CARLSON ENVIRONMENTAL CONSULTANTS PC
305 SOUTH MAIN STREET
MONROE NC 28112

Taxable Marital Status: Married

Exemptions/Allowances:

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Earnings Statement

Period Beginning: 42/12/2015
Period Ending: 12/25/2015
Pay Date: 12/24/2015

SEAN SLAYTON
1715 LIBERTY ST.

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Earnings rate hours this period year to date
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Deductions Statutory $1,538.77
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Social Security Tax -138 31 1,771.77 int er fon and this period total to date
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Exp Reimb +200 .00
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CARLSON ENVIRONMENTAL CONSULTANTS PC Advice number: 00000520047
. 305 SOUTH MAIN STREET Pay date. = = 12/24/2015
MONROE NC 28112 ==
Deposited to the account of account number transit ABA amount
SEAN SLAYTON XXXXXX9653 XXXX_ XXXX $1,074.09
XXXXXxX6911 XXXX  XXXX $403 .95
AB BS
7.054010)
22893 Sandalfoot Plaza Dr SS
Boca Raton FL, 33428 NON-NEGOTIABLE

Case 3:17-cv-00149-FDW-DCK

Document 21-1

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